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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

        Plaintiff,

v.

ROGELIO SALAICES-ARENALES

        Defendant.                                         Case No. 03-cr-30164-DRH




                                         ORDER


HERNDON, District Judge:

              On October 27, 2006, the Court issued an Order (Doc. 157) granting

defendant Salaices-Arenales’s Motion to Continue the Revocation Hearing (Doc. 156).

The Revocation Hearing was continued until a time after the matter of 06-M-6098-CJP

and the indictment which follows was resolved. Since that Order was entered, the

indictment against Defendant has become a new criminal matter, captioned as United

States v. Salaices-Arenales, Case No. 06-cr-30151-GPM (S.D. Ill.).

              Because the charge for the new case, No. 06-30151, is the same as the basis

for the revocation in the instant matter (illegal re-entry into the United States after

deportation by a felon in violation of 8 U.S.C. §§ 1326(a) and (b)(2)), the two should be

presided over by the same District Judge in order to maintain consistency and judicial

efficiency.   Therefore, the Court hereby TRANSFERS the revocation of defendant


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Salaices-Arenales to the Honorable Chief District Judge G. Patrick Murphy, and hereby

amends the case number pertaining to defendant Salaices-Arenales to 03-cr-30164-02-

GPM.

            IT IS SO ORDERED.

            Signed this 27th day of November, 2006.

                                                        /s/      David RHerndon
                                                       United States District Judge




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